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                         UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION
                                    ********
IN RE:                                  Case No. HK 12-08805
                                        (Chapter 7 filed on 10/2/12)
DELLA I. HODGE,
                                        HON. JEFFREY R. HUGHES
       Debtor                           Bankruptcy Judge
                   /

                    MOTION TO COMPEL TURNOVER OF NON-EXEMPT ASSETS

       Thomas C. Richardson, Trustee, requests an Order compelling turnover of non-exempt assets as follows:

       1.         He is a trustee in the Chapter 7 proceeding filed October 2, 2012.

       2.         Trustee believes there are the following non-exempt assets in this case:

       •          Cash                                                                 $ 50.00
       •          Bank Account                                                         $ 16.56
       •          Jewelry                                                              $ 1,475.00
       •          Whole Life Insurance                                                 $ 748.50
       •          Life Insurance proceeds received within 180 days of petition         $ 7,208.84
                                                              TOTAL:                   $ 9,698.90

       WHEREFORE, Thomas C. Richardson, Trustee requests an Order requiring the Debtor to turn over

$9,698.90 within 30 days of entry of an Order approving said turnover and granting him such further relief as

is appropriate.

Dated: 1/21/14                                          LEWIS, REED & ALLEN, P.C.

                                                        By:     /s/
                                                            Thomas C. Richardson, Trustee (P31750)
                                                            Attorney for Trustee
                                                        P. O. Box 51067
                                                        Kalamazoo, MI 49005-1067
                                                        (269) 349-7415
